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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JANE DOE, individually and as natural mother                         )
and next friend for ML, EL, and RL, all minors,                      )
                                            Plaintiffs,              )
                                                                     )
                                                                     )
LAKE COUNTY, ILLINOIS, MARK R. LINDELL,                              )
STEVEN D. GERAGE, GERAGE FAMILY LAW, P.C.,                           )
KELLY A. COLLINS, COLLINS FAMILY LAW, LLC,                           )
MARC R. FISHER, KATZ, GOLDSTEIN & WARREN, P.C.,                      )
PHYLLIS E. AMABILE, M.D.,                                            )
PHYLLIS E. AMABILE, M.D. & ASSOCIATES, P.C.                          )
STEVEN J. SLATER,      SJS MEDICAL LABS, LLC and                     )
MARION K. LINDELL,                                                   )
                             Defendants.                             )

                                    COMPLAINT AT LAW

       Plaintiff, JANE DOE, individually and as natural mother and next friend for ML, EL and

RL, all minors, complaining of Defendants, MARK R. LINDELL, STEVEN D. GERAGE,

GERAGE FAMILY LAW, P.C., KELLY A. COLLINS, COLLINS FAMILY LAW, LLC,

MARC R. FISHER, KATZ, GOLDSTEIN & WARREN, P.C., PHYLLIS E. AMABILE, M.D.

PHYLLIS E. AMABILE, M.D. & ASSOCIATES, P.C., STEVEN J. SLATER and SJS

MEDICAL LABS, LLC, and states as follows:

                                     I.    INTRODUCTION

       1.      This is an action brought pursuant to 42 U.S.C. §§1983 and 1985 and the

Fourteenth Amendment to the United States Constitution to address the deprivation, under color

of law, of Plaintiff’s rights under the United States Constitution and Illinois common and

statutory law. This claim alleges that “Defendants conspired with an associate judge and acted

under color of state law to deprive Plaintiff of her three minor children and denied the Plaintiff’s


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3 minor children of their mother. This was a violation of the Plaintiffs’ Constitutional right to

familial relations and the Plaintiff’s constitutionally protected liberty interests that parents have

in the custody, care and management of their children. Equally fundamental is the substantive

due process right of minor children to be raised, cared for, loved and nurtured by their mother.

       2.      This action is also brought under the Americans with Disabilities Act of 1990, 42

U.S.C. § 12101 et seq. ("ADA"), to redress discrimination in violation of that Act by refusing to

acknowledge Plaintiff’s disability and taking her children away because of her disability.

                                   II.     Jurisdiction and Venue

       3.      This is an action brought pursuant to 42 U.S.C. §1983, 42 U.S.C. §1985 and the

Fourteenth Amendment to the United States Constitution to address the deprivation, under color

of law, of Plaintiff’s rights under the United States Constitution and Illinois common and

statutory law and jurisdiction is proper according to 42 U.S.C. §1983 and 42 U.S.C. §1985.

       4.      Venue is proper under 28 U.S.C. §1391(b) as Defendants are physically situated

in this judicial district and all acts and events giving rise to claims in this case occurred in Lake

County, Illinois and jurisdiction is proper in the Northern District of Illinois, Eastern Division.

in this judicial district and all acts and events giving rise to claims in this case occurred in Lake

County, Illinois and jurisdiction is proper in the Northern District of Illinois, Eastern Division.

                                         III.   THE PARTIES

       5.      Plaintiff, Jane Doe (hereafter “Plaintiff) is a citizen of the United States and is a

resident of Lake County, Illinois and at all relevant times, Plaintiff was and is an individual with

a disability within the meaning of the ADA Further Plaintiff is a licensed, board certified

psychiatrist who is practicing medicine in the State of Illinois and is suffering from psychiatric

condition known as attention deficit hyperactivity disorder (“ADHD”) which all relevant times

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the Defendants were aware of and ignored and refused to provide any accommodation.

        6.        Defendant, Lake County, Illinois is a local government entity in the State of

Illinois and is considered a “public entity” under the ADA and Lake County is vicariously liable

for any violations of the ADA and Rehabilitation Act committed by its judges and other

employees.

        7.        Defendant, Mark R. Lindell (hereafter referred to as “Mark”) is a resident of Lake

County, Illinois and is the father of the three minor children that were born during his marriage

with Plaintiff.

        8.        Defendant, Steven D. Gerage, an attorney, licensed to practice law in the State of

Illinois whose license is in good standing and he was at all times alleged in this complaint, was

the attorney for Mark and at all times relevant is alleged to have been acting under color of law

through a Lake County associate judge.

        9.        Defendant, Gerage Family Law, P.C. is an Illinois Professional Corporation and

a law firm that is owned by Defendant, Steven D. Gerage, and is believed to be vicariously liable

for damages in the state law causes of action and believed to be vicariously liable for damages

caused by Steven B. Gerage in the state law causes of action.

        10.       Defendant, Kelly A. Collins, an attorney, licensed to practice law in the State of

Illinois whose license is in good standing, was at all times alleged in this complaint, an attorney

and a co-counsel for Mark and at all times relevant is alleged to have been acting under color of

law through a Lake County associate judge.

        11.       Defendant, Collins Family Law, LLC is a Limited Liability Company in Illinois

and a law firm that is owned by Defendant, Kelly A. Collins, and is believed to be vicariously


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liable for damages caused by Kelly A. Collins in the state law causes of action.

       12.     Defendant, Marc R. Fisher, is an attorney, licensed to practice law in the

State of Illinois and his license is in good standing (hereafter referred to as “Marc R. Fisher”) and

at all times relevant was the Guardian Ad Litem (hereafter “GAL”) in the Dissolution of

Marriage action between Plaintiff and Mark and at all time relevant, Marc R. Fisher was also

acting under color of law through Lake County associate judge.

       13.     Defendant, Katz, Goldstein & Warren, P.C., is an Illinois Professional

Corporation and a law firm where Marc R. Fisher is employed and believed to have some form

of ownership and is believed to be vicariously liable for damages caused by Marc R. Fisher in

the state law causes of action.

       14.     Defendant, Phyllis E. Amabile, M.D., is a licensed, board certified psychiatrist

and is practicing in general and forensic psychiatry and often conducts psychiatric evaluations of

parents who through litigation seek court ordered parenting time and parenting responsibilities

with their children.

       15.     Defendant, Phyllis E. Amabile, M.D. & Associates, P.C. , is an Illinois

Professional Corporation through which Phyllis E. Amabile, M.D. is employed and believed to

be the sole shareholders and is believed to be vicariously liable for damages caused by Phyllis E.

Amabile, M.D. in the state law causes of action.

       16.     Defendant, STEVEN J. SLATER, is employed by SJS MEDICAL LABS, LLC,

d/b/a ARCPoint Labs of Libertyville, and is a shareholder of this company along with his spouse.

       17.     Defendant, SJS MEDICAL LABS, LLC, d/b/a ARCPOINT LABS OF

LIBERTYVILLE, is an Illinois Corporation in the business of providing drug testing to members

of the public without a prescription from a licensed physician and in the State of Illinois.
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       18.     Defendant, Marion K. Lindell, is the step-mother of Defendant, Mark R. Lindell,

and Marion and Mark are very close, and it is believed that Marion was part of the conspiracy

alleged as she knowingly provided to Mark a substantial portion of the monetary funds that were

necessary to accomplish unlawful ends alleged in this action.

                                            IV.    FACTS

       19.     On May 22, 2010, Plaintiff and Mark were married to one another and as a result

of that marriage three children were born between Plaintiff and Mark: ML, EL, and RL.

       20.      On July 24, 2018, Mark filed a Petition for Dissolution of Marriage against

Plaintiff and throughout this litigation (hereafter referred to as the “Lindell dispute”), Plaintiff

has been at a unconstitutional disadvantage as all of the Defendants conspired with one another

and with an associate judge to violate Plaintiff’s Constitutional right to due process and have

decided this case as the Defendants agreed through ex parte communications with each other and

with the associate judge.

       21.     Throughout the Lindell dispute, Mark has had access to substantial amount of

funds from his step-mother, Defendant - Marion K. Lindell, who it is believed had full

knowledge that the amounts of funds provided by Marion to Mark were being used to facilitate a

conspiracy against Plaintiff and for unlawful purposes which are alleged herein.

       22.     Throughout this case, Plaintiff has been at an overwhelming disadvantage as with

the overwhelming stress suffered by Plaintiff as a result of the unlawful conspiracies, Plaintiff’s

ADHD symptoms are triggered by the severe stress that the Lindell dispute has caused and as a

result of the stress caused by the Lindell dispute, Plaintiff is unemployable and is barely able to

work 1-2 days per week.


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       23.     Because of Plaintiff’s lack of monetary funds, it is believed that Mark was able to

successfully fulfill his goal and to unlawfully remove Plaintiff from the lives of the parties’ three

minor children through a carefully planned conspiracy with Steven D. Gerage, Marc R. Fisher

(the GAL), Phyllis E. Amabile, M.D., Steven J. Slater and Marion K. Lindell, all in agreement

with the associate judge assigned to the Lindell dispute.

       24.     At all times relevant, the associate judge was acting under the authority or color

of Illinois law at the time that the Lindell dispute was proceeding and as the trier of the facts, the

associate judge was not a fair nor an unbiased trier of fact as it is believed that the associate

judge and on information and belief it is believed that all of the individual Defendants had ex

parte communications with the associate judge and reached ex parte agreements to act together in

a conspiracy to deny Plaintiff her Constitutional right to due process and to deny Plaintiff her

Constitutional right to raise her minor children in the manner that she deemed fit and proper and

further reached an ex parte agreement to discriminate against the Plaintiff because of her known

and ignored disability by claiming that Plaintiff’s ADHD symptoms were symptoms of

alcoholism and / or prescription drug abuse which were all contrary to the professional opinion

that was provided by the Plaintiff’s treating psychiatrist, Christopher J. Hummel, M.D., M.P.H.

       25.     From explanation of the facts alleged, the fact that the trial judge turned a blind

eye to all of the facts favorable to Plaintiff and accepted all of the facts that were alleged by

Mark, Steven D. Gerage, Marc Fisher - the GAL, Phyllis E. Amabile, M.D. - the custody

evaluator, Steven J. Slater through SJS Medical Labs, LLC d/b/a ARCPoint Labs of Libertyville,

the unlawful conspiracy that was reached between all of the individual Defendants and the

associate judge is irrefutable.


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       26.     As part of the Lindell dispute, Plaintiff and Mark became grossly involved in the

determination of the proper allocation of parental time and responsibilities over their three minor

children which evolved into a hotly contested parental decision making and parental time dispute

f/k/a custody dispute.

       27.      In July of 2018, when Mark filed for dissolution of marriage, Plaintiff’s ADHD

symptoms became intense and Plaintiff was experiencing difficulties in achieving sleep and was

showing symptoms of her ADHD condition.

       28.     In July of 2018 and after Mark spoke to numerous friends and told the parties’

friends that Plaintiff was on drugs and had an eating disorder, and Mark had discussions with the

Chief Medical Officer (“CMO”) of the corporation that owned and managed the local hospital

where both Plaintiff and Mark were employed and Mark informed that CMO that he believed

that Plaintiff was on drugs and she needed treatment.

       29.     Because of Mark’s conversation with the CMO, Plaintiff was forced to consult

with the head of the hospital’s Employee Assistance Program (“EAP”) who, in October of 2018,

demanded that Plaintiff go on leave and further demanded that Plaintiff complete a

neuropsychological evaluation.

       30.     In November of 2018, Plaintiff completed the neuropsychological evaluation and

was thought to be experiencing depression, anxiety with a history of ADHD. The evaluation

concluded that Plaintiff may be suffering from an eating disorder and thus recommended that

Plaintiff attend a daily program for group therapy for eating disorders.

       31.     In December of 2018, Defendant, Mark R. Fisher, was appointed as Guardian Ad

Litem (“GAL”) and reported to the court about the well being of the parties’ three minor


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children. Throughout this case, Mark and Marc R. Fisher spoke to one another numerous times

and it is believed that Mark constantly spoke badly about Plaintiff to Marc R. Fisher and that

over the next five months, Mark and Marc R. Fisher conspired with one another to develop a

plan to take the parties three minor children away from Plaintiff.

       32.     Plaintiff believes that Mark and Marc R. Fisher reached a conspiracy because

after Marc R. Fisher was appointed as GAL, Mark started to receive several $30,000.00 checks

from Defendant, Marion K. Lindell, and these $30,000.00 checks that totaled $120,000.00 or

more were mailed by Marion K. Lindell to Mark, but, received at an address where Mark’s

friend, Steven Wang resided. Mark hid from Plaintiff the receipt of those $30,000.00 checks.

       33.     It is believed that those $30,000.00 checks were used to pay off Defendant,

Steven D. Gerage, Defendant, Marc R. Fisher, Defendant, Phyllis E. Amabile, M.D. and

Defendant, Steven J. Slater, in order to fulfill an unlawful conspiracy where Defendant, Steven J.

Slater, would falsify Plaintiff’s up and coming hair test; Defendant, Marc R. Fisher, would

recommended that Plaintiff’s parenting time would be supervised; and Defendant, Phyllis E.

Amabile would falsely allege in her evaluation that Mark should have sole decision making

authority over the parties’ three minor children with a substantial portion of the parenting time

and Plaintiff’s parenting time with the parties’ three minor children should be limited and

supervised.

       34.     Plaintiff was in the group therapy program for three months and was finished on

March 7, 2019. During that group therapy program, Plaintiff had random drug tests once or

twice every week and was never positive for drugs or alcohol. In fact, during the group therapy

program, Plaintiff was forced not to take her amphetamines which were prescribed to her by her


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treating psychiatrist for her ADHD condition.

       35.     After completing the group therapy program, Plaintiff returned to work at the

hospital where Plaintiff was checked and reviewed constantly.

       36.     In April of 2019, it is believed that Marc R. Fisher got Defendant, Phyllis E.

Amabile, M.D., involved in the case and Phyllis E. Amabile, M.D. was appointed as an evaluator

to make recommendations to the court about the parenting capabilities of Plaintiff and Mark

through which as part of the conspiracy and in exchange for the payment of funds, Phyllis E.

Amabile, M.D. would use the false hair test results to conclude that Plaintiff was a severe danger

to the well being of the parties’ three minor children and recommend that Mark have sole

decision making for the children and Plaintiff have limited, supervised visitation.

       37.     Because of Mark’s unlawful acts and his filing for dissolution of marriage,

Plaintiff’s ADHD symptoms were becoming extreme and the Plaintiff was experiencing extreme

difficulty falling asleep at night which caused Plaintiff to be very sleepy and to fall asleep in the

daytime now and then and was experiencing difficulties in speaking in a focused manner.

       38.     Mark used Plaintiff’s ADHD disability to get all of the Defendants and the

associate judge to discriminate against Plaintiff because of her disability and Mark conspired

with Steven D. Gerage, Kelly A. Collins, Marc Fisher - the GAL, Phyllis E. Amabile, M.D., and

Steven J. Slater, to set up Plaintiff for a fraudulent hair test that would provide false evidence

that Plaintiff was a severe alcoholic who consumed substantial amounts of alcoholic beverages.

       39.     Mark, through his attorneys, Defendants, Steven D. Gerage and Kelly A. Collins,

and through Gal - Marc R. Fisher, and through Phyllis E. Amabile, M.D., through Steven J.

Slater, initiated a plan and fulfilled his conspiracy to have the court order Plaintiff to provide a

hair sample to SJS Medical Labs, LLC, d/b/a ARCPoint Labs of Libertyville and for ARCPoint


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Lab of Libertyville to gather Plaintiff’s hair and for Steven Slater to switch Plaintiff’s hair with

hair from someone else that was known to be indicative of substance abuse and to serve as

fraudulent proof that Plaintiff was a severe alcoholic who consumed substantial amounts of

alcoholic beverages and to allow the associate judge to take Plaintiff’s parental rights away.

       40.     On June 10, 2021, Plaintiff appeared at ARCPoint Labs of Libertyville and

provided her hair sample.

       41.     On June 12, 2019, Marc R. Fisher appeared with an emergency motion to modify

parenting time and Marc R. Fisher threatened Plaintiff that if she did not sign the modified order

that made her parenting time supervised, Plaintiff would never, ever see her children again.

Marc R. Fisher stated further to Plaintiff that the order would only be temporary and for a few

weeks. Further, through this unlawful conspiracy between the individual Defendants, Plaintiff

was removed from the marital residence and forced to obtain her own apartment.

       42.     On June 17, 2019, the hair test results were released and it was alleged that

Plaintiff’s test was positive for EtG and measured at 41 which was proof that Plaintiff was a

severe alcoholic who consumed substantial amounts of alcoholic beverages. However, the hair

test reported that Plaintiff was negative for amphetamines which could not be correct as Plaintiff

was taking two amphetamines that were prescribed by Plaintiff’s treating psychiatrist.

       43.     There is substantial evidence that the hair test released on June 17, 2019, was

altered and was untrue and is an unlawful result of fraudulent conspiracy that was formed and

executed by the individual Defendants as Plaintiff does not consume alcoholic beverages,

Plaintiff is prescribed and was taking at all times two amphetamines for ADHA treatment, the

hair test was positive for EtG which could only be accurate if Plaintiff consumed large amounts

of alcoholic beverages consistently for some time.


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       44.     Plaintiff conducted various tests on June 7, 2019, on her own and numerous

subsequent tests (Hair, blood and urine) and all of Plaintiff’s test results were negative for

alcoholic beverages and negative for all drugs except for the prescribed amphetamines.

       45.     Plaintiff has substantial proof that the hair test results released by ARCPoint Labs

of Libertyville on June 17, 2019, were false and not accurate; yet, all the named Defendants and

the associate judge relied on those June 17, 2019, false hair test results.

       46.     In September of 2019, Defendant, Phyllis E. Amabile, M.D., released her

evaluation which was based substantially on the false hair test released on June 17, 2019, and, all

of Plaintiff’s ADHD symptoms have been intentionally misinterpreted by Defendant, Phyllis E.

Amabile, M.D., as part of her position in the Defendants’ conspiracy.

       47.     As further evidence of a conspiracy between all Defendants is that during the

month of June 2019, there are numerous communications between all of the Defendants,

especially between Mark, Marc R. Fisher, and Phyllis E. Amabile, M.D., which are documented

by numerous emails and text messages of which Plaintiff has possession.

       48.     It is believed in July of 2020, Defendant, Phyllis E. Amabile, M.D., updated her

evaluation and intentionally ignored Plaintiff’s claims regarding her disability from ADHD, all

of Plaintiff’s substance abuse tests, opinions provided by Christopher J. Hummel. M.D. which is

Plaintiff’s treating medical doctor psychiatrist.

       49.     In February of 2021, Plaintiff’s request to continue trial was denied and trial

proceeded. Plaintiff was unable to retain the appropriate experts to prove her allegations that all

of the Defendants formed and participated in the conspiracy explained above as Plaintiff has




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been suffering from adverse symptoms of ADHD, had been unemployed for a meaningful

amount of time, possessed no funds to pay for any litigation expenses to properly prepare for

trial.

         50.    On May 28, 2021, the associate judge issued a Judgment for Dissolution of

Marriage and an Allocation of Parental Responsibilities and Parenting Time which declared that

Plaintiff was an immediate danger to her three minor children and continued Plaintiff’s limited

parenting time and continued to order that Plaintiff’s parenting time with her minor children be

supervised.

         51.    All of the individual Defendants have violated the Plaintiffs’ Constitutional rights

and have discriminated against the Plaintiff under the ADA as the individual Defendants used

Plaintiff’s signs and symptoms of ADHD as signs and symptoms of substance abuse and further

discriminated against the Plaintiff because of her signs and symptoms of ADHD.

                                    COUNT I:
               MARK R. LINDELL, STEVEN D. GERAGE, MARC R. FISHER,
                  PHYLLIS E. AMABILE, M.D., STEVEN J. SLATER
                             and MARION K. LINDELL
                  COMPLAINT FOR CIVIL RIGHTS CO/NSPIRACY
                      IN VIOLATION OF UNDER 42 U.S.C. §1983

         Plaintiff, JANE DOE, individually and as natural mother and next friend for ML, EL, and

RL, all minors, complaining of Defendants, MARK K. LINDELL, STEVEN D. GERAGE,

KELLY A. COLLINS, MARC R. FISHER, PHYLLIS E. AMABILE, M.D., STEVEN J.

SLATER and MARION K. LINDELL, states as follows:

         52.    Plaintiffs repeat, reallege, and incorporate herein by reference each of the

allegations set forth in paragraphs 1 through 52 as if set forth in full herein.




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        53.    From the facts alleged above and the facts in the court transcripts, it is

overwhelmingly clear that the individual Defendants reached an agreement or conspiracy

between them to deprive Plaintiffs of their constitutional rights to due process as the individual

Defendants convinced an associate judge to cooperate with the individual Defendants in

enforcing their conspiracy through the judge’s rulings and under color of law.

        54.    That from the facts alleged above and the facts in the court transcripts, it is

overwhelmingly clear that the individual Defendants reached an unlawful agreement or

conspiracy between them to act willfully in joint activity together with the associate judge, a

state actor to deprive Plaintiffs of their constitutional rights under color of law.

        55.    Private actors, the individual Defendants, who “corruptly conspired” with state

officials and associate judge to deprive individuals of federal rights act under color of state law

within the meaning of § 1983 and thus liability under §1983 extends to private parties, the

individual Defendants involved in such conspiracies.

        56.    The individual Defendants corruptly conspired with the associate judge

assigned to handle the Lindell dispute, a state actor, to improperly interfere with Plaintiff’s right

to the companionship, love and affection of her three minor children which was fully done by

May 28, 2021, and Mark and the other individual Defendants continue to conspire against

Plaintiff.

        57.    The individual Defendants corruptly conspired with the associate judge

assigned to handle the Lindell dispute, a state actor, to improperly interfere with Plaintiff’s

fundamental rights and privileges to familial relations and to raise her three minor children




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which is secured by the Due Process Clause of the Fourteenth Amendment.

       58.     The individual Defendants corruptly conspired with the associate judge

assigned to handle the Lindell dispute, a state actor, to improperly interfere with Plaintiff’s

fundamental rights and privileges to a fair and impartial trier of fact which is secured by the

Due Process Clause of the Fourteenth Amendment.

       59.     Plaintiff has suffered a violation of her constitutionally protected rights and

interests in the nurture, upbringing, companionship, care, and parenting time of her children

generally protected by the “Due Process Clause of the Fourteenth Amendment.”

       60.     It is well known that parents have a constitutional right to the custody of (or

parenting time with) their children, and any depravation of that right must comply with the

requirements of procedural due process. The three minor children have a protected liberty

interest in being raised in a normal family home, a loving, stable and safe home environment and

to have the continued care, love and affection of their mother, the Plaintiff.

       61.     By taking Plaintiff’s children away from her through this unlawful conspiracy,

the individual Defendants unlawfully violated Plaintiff’s constitutional rights and the three minor

children’s constitutional rights mentioned above.

       62.     By taking Plaintiff’s children away from her through this unlawful conspiracy,

Plaintiff and her three minor children suffered severe physical and psychiatric injuries and were

thus severely damaged and have suffered severe emotional distress, has caused Plaintiff to lose

three jobs and become unemployable and has caused Plaintiff to become responsible for

substantial amount of legal fees and other litigation costs and have caused other damages.




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       63.      The actions of the individual Defendants were willful and intentional and

undermined Plaintiffs’ constitutional rights to be a parent and to parent her three minor children

and Plaintiffs right to a fair, unbiased and independent trier of fact.

       64.      The individual Defendants engaged in unconstitutional practices contravening 42

U.S.C. §1983.

       65.      Plaintiff and her three minor children have suffered injuries as a proximate

result of the individual Defendants, in contravention of 42 U.S.C. §1983.

       66.      Plaintiffs bring this lawsuit to pursue independent Federal claims and to seek

monetary compensation for the damages that they suffered from the violation of their

Constitutionally protected rights and the facts alleged are extraordinary circumstances that

continue to cause irreversible injuries.

       WHEREFORE, Plaintiffs, JANE DOE and her three minor children, ML, EL and RL,

respectfully request that this Honorable Court enter judgment in Plaintiffs’ favor and against

Defendants, MARK K. LINDELL, STEVEN D. GERAGE, KELLY A. COLLINS, MARC R.

FISHER, PHYLLIS E. AMABILE, M.D., STEVEN J. SLATER and MARION K. LINDELL,

and hold the Defendants jointly and severally liable for an award of compensatory damages for

each Plaintiff in an amount in excess of $1 Million, award each Plaintiff punitive damages in an

amount in excess of $1 Million and award the Plaintiffs a reasonable amount of attorney’s fees

pursuant to 42 U.S.C. §1988 and award Plaintiffs the costs of this litigation and provide any

other relief as the court deems just and proper.

                                  COUNT II:
             MARK R. LINDELL, STEVEN D. GERAGE, KELLY A. COLLINS,




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                     MARC R. FISHER, PHYLLIS E. AMABILE, M.D.,
                     STEVEN J. SLATER and MARION K. LINDELL
                    COMPLAINT FOR CIVIL RIGHTS CONSPIRACY
                        IN VIOLATION OF 42 U.S.C. §1985 (3)

       Plaintiff, JANE DOE, individually and as natural mother and next friend for ML, EL, and

RL, all minors, complaining of Defendants, MARK K. LINDELL, STEVEN D. GERAGE,

MARC R. FISHER, PHYLLIS E. AMABILE, M.D., STEVEN J. SLATER and MARION K.

LINDELL, states as follows:

       67.     Plaintiffs repeat, reallege, and incorporate herein by reference each of the

allegations set forth in paragraphs 1 through 52 as if set forth in full herein.

       68.     This count is brought pursuant to 42 U.S.C. §1985 (3) that makes it unlawful for

any person to deprive, either directly or indirectly, any person of the equal protection of the laws,

or of equal privileges and immunities under the laws or to conspire against another person to

violate federally protected rights secured by the United States Constitution, and provides further

that the party so injured or deprived may have an action for the recovery of damages occasioned

by such injury or deprivation, against any one or more of the conspirators.

       69.     From the facts alleged above and the facts in the court transcripts, it is

overwhelmingly clear that the individual Defendants reached an unlawful agreement or

conspiracy between them to deprive Plaintiffs of their constitutional rights through an associate

judge assigned to the Lindell dispute, and under color of law.

       70.     That from the facts alleged above and the facts in the court transcripts, it is

overwhelmingly clear that the individual Defendants reached an unlawful agreement or

conspiracy between them and had a meeting of their minds to act willfully in joint activity




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together with Defendant, Judge Johnson, a state actor to deprive Plaintiffs of their constitutional

rights under color of law.

        71.     From the facts alleged above and the facts in the court transcripts, it is

overwhelmingly clear that the individual Defendants reached an understanding between them

and therefore engaged in a sequence of events or course of conduct and otherwise agreed and

conspired together with overt acts and / or providing false testimony, to violate the constitutional

rights of the Plaintiffs.

        72.     Each individual Defendant conspired with one another and did reach an

understanding and agreement, and did engage in this course of conduct, and / or provided false

testimony in court, with the mutual purpose, objective and knowledge that it would deprive

Plaintiffs of their rights, privileges and immunities, as guaranteed by the Constitution and laws

of the United States. The individual Defendants were acting in their individual capacities, along

with an associate judge who was assigned to the Lindell dispute and under color of state law to

commit overt acts and to violate Plaintiffs’ constitutional rights.

        73.     Each individual Defendant conspired with one another, but, each Defendant could

have stopped the other from violating 42 U.S.C. §1985 (3) against the Plaintiffs, but, each

individual Defendant committed acts to further their conspiracy to deprive Plaintiffs of their

constitutional rights mentioned above.

        74.     The individual Defendants unlawfully and corruptly conspired with the associate

judge assigned to the Lindell dispute, a state actor, and / or provided false testimony and




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evidence in court or to assist in other ways, to improperly interfere with Plaintiff’s right to the

companionship, love and affection of her three minor children.

       75.     That the individual Defendants corruptly conspired with the associate judge

assigned to the Lindell dispute, a state actor, to improperly interfere with Plaintiff’s fundamental

rights and privileges to familial relations and to raise her three minor children which is secured

by the Due Process Clause of the Fourteenth Amendment.

       76.     The individual Defendants unlawfully and corruptly conspired with the associate

judge assigned to the Lindell dispute, a state actor, and / or provided false testimony or

knowingly and improperly funded the conspiracy and to interfere with Plaintiff’s fundamental

rights and privileges to a fair and impartial trier of fact which is secured by the Due Process

Clause of the Fourteenth Amendment.

       77.     Plaintiff has suffered from the violation of her constitutionally protected rights

and interests and has been denied the nurturing, upbringing, companionship, care, and parenting

time of her three minor children generally protected by the “Due Process Clause of the

Fourteenth Amendment.”

       78.     It is well known that parents have a constitutional right to the custody of (or

parenting time with) their children, and any depravation of that right must comply with the

requirements of procedural due process. The three minor children have a protected liberty

interest in being raised in a normal family home, a loving, stable and safe home environment and

to the care, love and affection of their mother.




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       79.     By taking Plaintiff’s children away from her through this unlawful conspiracy,

the individual Defendants unlawfully violated Plaintiff’s constitutional rights and the three minor

children’s constitutional rights mentioned above.

       80.     By taking Plaintiff’s children away from her through this unlawful conspiracy,

Plaintiff and her three minor children suffered severe physical and psychiatric injuries and were

thus severely damaged, and have suffered severe emotional distress, has caused Plaintiff to lose

three jobs and become unemployable and has caused Plaintiff to become responsible for

substantial amount of legal fees and other litigation costs and have caused other damages.

       81.     The actions of the individual Defendants were willful and intentional and

undermined Plaintiffs’ constitutional rights to be a parent and to parent her three minor children

and Plaintiffs right to a fair, unbiased and independent trier of fact.

       82.     The individual Defendants engaged in unconstitutional practices contravening 42

U.S.C. §1985 (3).

       83.     Plaintiff and her three minor children have suffered injuries as a proximate result

of the actions of the individual Defendants in contravention of 42 U.S.C. §1985 (3).

       84.     Plaintiffs bring this lawsuit to pursue independent Federal claims and to seek

monetary compensation for the damages that they suffered from the violation of their

Constitutionally protected rights and the facts alleged are extraordinary circumstances that

continue to cause irreversible injuries.

       WHEREFORE, Plaintiffs, JANE DOE and her three minor children, ML, EL and RL,




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respectfully request that this Honorable Court enter judgment in Plaintiffs’ favor and against

Defendants, MARK K. LINDELL, STEVEN D. GERAGE, MARC R. FISHER, PHYLLIS E.

AMABILE, M.D., STEVEN J. SLATER and MARION K. LINDELL, and hold the Defendants

jointly and severally liable for an award of compensatory damages for each Plaintiff in an

amount in excess of $1 Million, award each Plaintiff punitive damages in an amount in excess of

$1 Million and award the Plaintiffs a reasonable amount of attorney’s fees pursuant to 42 U.S.C.

§1988 and award Plaintiffs the costs of this litigation and provide any other relief as the court

deems just and proper.

                                     COUNT III:
                               LAKE COUNTY, ILLINOIS
                           VIOLATION OF 42 U.S.C. §12101, et seq.
                          (AMERICANS WITH DISABILITIES ACT)

       Plaintiff, JANE DOE, individually and as natural mother and next friend for ML, EL, and

RL, all minors, complaining of Defendant, LAKE COUNTY, ILLINOIS, states as follows:

       85.     Plaintiffs repeat, re-allege, and incorporate herein by reference each of the

allegations set forth in paragraphs 1 through 52 as if set forth in full herein.

       86.     Title II of the Americans with Disabilities Act (42 U.S.C. §§12131-12134)

applies to Defendant, LAKE COUNTY, ILLINOIS.

       87.     The Lake County Courthouse is a facility, and its operation comprises a program

and service for Title II purposes.

       88.     Plaintiff had and has ADHD, a medical disability under the ADA, throughout the

time she was a party in the Lindell dispute.




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          89.     Defendant, Lake County, Illinois, through the associate judge assigned to the

Lindell dispute, failed to reasonably accommodate Plaintiff’s medical disability and to allow

Plaintiff sufficient time to prepare her case for trial, to reasonably accommodate Plaintiff’s

disability, and further, intentionally and deliberately discriminated against Plaintiff and refused

to recognize the seriousness of her disability, all in violation of Title II of the ADA.

          90.     Defendant’s, Lake County, Illinois’s, violations of the ADA were the proximate

cause of Plaintiffs’ Constitutional violations and damages.

          91.     Plaintiffs are entitled to recover for those damages that they sustained as a direct

and proximate cause and result of Defendant’s, Lake County, Illinois’s, violations of ADA

described in this Complaint.

          WHEREFORE, Plaintiffs, JANE DOE and her three minor children, ML, EL and RL,

respectfully request that this Honorable Court enter judgment in Plaintiffs’ favor and against

Defendant, LAKE COUNTY, ILLINOIS in a fair and just amount sufficient to compensate the

Plaintiffs for their damages in excess of $1 Million, award each Plaintiff punitive damages in

excess of $1 Million, award the Plaintiffs a reasonable amount of attorney’s fees and award

Plaintiffs the costs of this litigation and provide any other relief as the court deems just and

proper.

                                     COUNT IV:
                MARK R. LINDELL, STEVEN D. GERAGE, KELLY A. COLLINS,
                      MARC R. FISHER, PHYLLIS E. AMABILE, M.D.,
                      STEVEN J. SLATER and MARION K. LINDELL
                          COMPLAINT FOR ABUSE OF PROCESS




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       Plaintiff, JANE DOE, individually and as natural mother and next friend for ML, EL, and

RL, all minors, complaining of Defendants, MARK K. LINDELL, STEVEN D. GERAGE,

MARC R. FISHER, PHYLLIS E. AMABILE, M.D., STEVEN J. SLATER and MARION K.

LINDELL, states as follows:

       92.     Plaintiffs repeat, re-allege, and incorporate herein by reference each of the

allegations set forth in paragraphs 1 through 52 as if set forth in full herein.

       93.     Defendants knew or upon reasonable investigation should have known that the

providing of false testimony, false evidence, false reports and evaluations, and false results from

a hair test through an unlawful conspiracy and making Plaintiff’s parenting time severely limited

and supervised would deny Plaintiff and Plaintiff’s three minor children their Constitutional

rights to Due Process and would deny Plaintiff and Plaintiff’s three minor children their

Constitutional rights to Due Process and to have a fair and impartial trier of fact making the

decisions in their case in the Lindell dispute.

       94.     Defendants knew that the release of the false hair test results on June 17, 2019, and

the release of the fraudulent evaluation report by Defendant, Phyllis E. Amabile, M.D., were

significant steps to accomplish the unlawful goal to cause Plaintiff to lose her three minor

children and to allow Mark to obtain sole parenting responsibilities and with using the false hair

test results to substantiate the modification of the Plaintiff’s parenting time and eventually

eliminated Plaintiff’s parenting time was achieved unlawfully through an unlawful conspiracy

through associate judge in the Nineteenth Judicial Circuit Court in Lake County, Illinois, as the

decision was not issued from a fair, unbiased trier of fact, and, further used Plaintiff’s disability

to discriminate against her and to take her children away was an unconstitutional infringement of


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the Plaintiffs’ Fourteenth Amendment Constitutional rights to Due Process.

       95.    As a result of false testimony, false evidence, unlawful discrimination and

malicious actions through Defendants’ conspiracy, Plaintiff was compelled to become

responsible to pay large sums of money and attorney’s fees to oppose the Defendants’ unlawful

acts and conspiracy, has lost three jobs and become unemployable and suffered other damages.

       96.     Also, as a result of the individual Defendants’ false testimony, false evidence,

unlawful discrimination and malicious actions through Defendants’ conspiracy, Plaintiff has

also been hindered and prevented from establishing a reasonable parental relationship with her

three minor children, has lost the love, affection and companionship of her three minor children

and Plaintiff’s three minor children have been deprived of receiving the love, affection and

companionship of their mother.

       97.     In fact, as a result of the individual Defendants’ false testimony, false evidence,

unlawful discrimination and malicious actions, Plaintiff’s three minor children have suffered

emotional distress and depression and Plaintiff’s oldest minor child, ML, has been severely

adversely affected by the Defendants’ conspiracy and unlawful acts and has suffered severe

emotional distress and depression.

       98.    Defendants’ abuse of process as explained through their false testimony, false

evidence, unlawful discrimination and malicious actions was made with willful and wanton

disregard for Plaintiffs' rights thereby entitling Plaintiffs to an award of punitive damages.

       WHEREFORE, Plaintiffs, JANE DOE and her three minor children, ML, EL and RL,

respectfully request that this Honorable Court enter judgment in Plaintiffs’ favor and against

Defendants, MARK K. LINDELL, STEVEN D. GERAGE, MARC R. FISHER, PHYLLIS E.


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AMABILE, M.D., STEVEN J. SLATER and MARION K. LINDELL, and hold the Defendants

jointly and severally liable for an award of compensatory damages for each Plaintiff in an

amount in excess of $1 Million, award each Plaintiff punitive damages in an amount in excess of

$1 Million and award the Plaintiffs the costs of this litigation and provide any other relief as the

court deems just and proper.


                              COUNT V:
        MARK R. LINDELL, STEVEN D. GERAGE, KELLY A. COLLINS,
              MARC R. FISHER, PHYLLIS E. AMABILE, M.D.,
               STEVEN J. SLATER and MARION K. LINDELL
    COMPLAINT FOR INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       Plaintiff, JANE DOE, individually and as natural mother and next friend for ML, EL, and

RL, all minors, complaining of Defendants, MARK K. LINDELL, STEVEN D. GERAGE,

MARC R. FISHER, PHYLLIS E. AMABILE, M.D., STEVEN J. SLATER and MARION K.

LINDELL, states as follows:

       99.     Plaintiffs repeat, re-allege, and incorporate herein by reference each of the

allegations set forth in paragraphs 1 through 52 as if set forth in full herein.

       100.    The misconduct and unlawful acts of all individual Defendants, MARK K.

LINDELL, STEVEN D. GERAGE, MARC R. FISHER, PHYLLIS E. AMABILE, M.D.,

STEVEN J. SLATER and MARION K. LINDELL, through the associate judge assigned to the

Lindell dispute was truly extreme and outrageous.

       101.    The individual Defendants knew that their misconduct and unlawful acts and

conspiracy would cause and intended to cause and to inflict severe emotional distress on Plaintiff

and did cause and inflict severe emotional distress on the parties’ three minor children.

       102.    The unlawful acts and conspiracy were misconduct that did, in fact, cause severe
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emotional distress on the Plaintiffs.

       WHEREFORE, Plaintiffs, JANE DOE and her three minor children, ML, EL and RL,

respectfully request that this Honorable Court enter judgment in Plaintiffs’ favor and against

Defendants, MARK K. LINDELL, STEVEN D. GERAGE, MARC R. FISHER, PHYLLIS E.

AMABILE, M.D., STEVEN J. SLATER and MARION K. LINDELL, and hold the Defendants

jointly and severally liable for an award of compensatory damages for each Plaintiff in an

amount in excess of $1 Million, award each Plaintiff punitive damages in an amount in excess of

$1 Million and award Plaintiffs the costs of this litigation and provide any other relief as the

court deems just and proper.

                                 COUNT VI:
            MARK R. LINDELL, STEVEN D. GERAGE, KELLY A. COLLINS,
                  MARC R. FISHER, PHYLLIS E. AMABILE, M.D.,
                  STEVEN J. SLATER and MARION K. LINDELL
                                   FRAUD

       Plaintiff, JANE DOE, individually and as natural mother and next friend for ML, EL, and

RL, all minors, complaining of Defendants, MARK K. LINDELL, KELLY A. COLLINS,

STEVEN D. GERAGE, MARC R. FISHER, PHYLLIS E. AMABILE, M.D., STEVEN J.

SLATER and MARION K. LINDELL, states as follows:

       103.    Plaintiffs repeat, re-allege, and incorporate herein by reference each of the

allegations set forth in paragraphs 1 through 52 as if set forth in full herein.

       104.    The individual Defendants, provided false testimony and false evidence to the

associate judge that was assigned the Lindell dispute which became material facts and

intentionally induced that associate judge to enter a temporary order that limited Plaintiff’s

parental rights and to unlawfully limit the Plaintiff’s parenting time with her three minor
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children.

       105.    The individual Defendants, provided false testimony and false evidence to the

associate judge that was assigned the Lindell dispute which became material facts and

intentionally induced that associate judge to enter a Judgment of Dissolution of Marriage and

Allocation Judgment for Parental Responsibilities and Parenting Time of a permanent nature that

adversely affected Plaintiffs by unlawfully limiting the Plaintiff’s parenting time with her three

minor children and limited the minor children’s right to the care, love and affection of their

mother.

       106.    The individual Defendants knew that the associate judge assigned to the Lindell

dispute would rely upon said misrepresentations, false statements and false evidence, and, that

the associate judge assigned to the Lindell dispute did in fact so rely upon the misrepresentations,

false testimony and false evidence.

       107.    That as a direct and proximate result of the associate judge’s reliance upon the

aforesaid individual Defendants’ misrepresentations, false testimony and false evidence,

Plaintiffs sustained monetary losses, have suffered severe physical and psychiatric injuries and

severe emotional distress, and, has caused Plaintiff to lose three jobs and become unemployable

and has caused Plaintiff to become responsible for substantial amount of legal fees and other

litigation costs and have caused other damages.

       WHEREFORE, Plaintiffs, JANE DOE and her three minor children, ML, EL and RL,

respectfully request that this Honorable Court enter judgment in Plaintiffs’ favor and against

Defendants, MARK K. LINDELL, STEVEN D. GERAGE, KELLY A. COLLINS, MARC R.

FISHER, PHYLLIS E. AMABILE, M.D., STEVEN J. SLATER and MARION K. LINDELL,
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and hold the Defendants jointly and severally liable for an award of compensatory damages for

each Plaintiff in an amount in excess of $1 Million, award each Plaintiff punitive damages in an

amount in excess of $1 Million and award the Plaintiffs a reasonable amount of attorney’s fees

and award Plaintiffs the costs of this litigation and provide any other relief as the court deems

just and proper.

                                  COUNT VII:
              GERAGE FAMILY LAW, P.C., COLLINS FAMILY LAW, LLC,
                      KATZ, GOLDSTEIN & WARREN, P.C.,
                  PHYLLIS E. AMABILE, MD. & ASSOCIATES, P.C.
                          and SJS MEDICAL LABS, LLC
                            RESPONDEAT SUPERIOR

       Plaintiff, JANE DOE, individually and as natural mother and next friend for ML, EL, and

RL, all minors, complaining of Defendants, GERAGE FAMILY LAW, P.C., COLLINS

FAMILY LAW, LLC, KATZ, GOLDSTEIN & WARREN, P.C., PHYLLIS E. AMABILE &

ASSOCIATES, P.C. and SJS MEDICAL LABS, LLC d/b/a ARCPOINT LABS OF

LIBERTYVILLE, states as follows:

       108.    Plaintiff repeats, re-alleges, and incorporates herein by reference each of the

allegations set forth in paragraphs 1 through 52 as if set forth in full herein.

       109.    At all relevant times during this complaint, Defendant, Steven D. Gerage was

an agent of or employed by Defendant, Gerage Family Law, PC., as an attorney at law and was

believed to be its sole shareholder and throughout this Lindell dispute had provided fraudulent

legal representation to benefit Mark and at all times acted within his duties as an attorney for

Defendant, Gerage Family Law, P.C., and his fraudulent legal representations in the Lindell

dispute was always approved by Defendant, Gerage Family Law, P.C., and Defendant, Gerage


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Family Law, P.C., always benefitted from his fraudulent legal representations and accepted his

fraudulent legal representation knowingly that was provided in the Lindell dispute and collected

a substantial amount for billed legal fees.

       110.    At all relevant times during this complaint, Defendant, Kelly A. Collins was

an agent of or employed by Defendant, Collins Family Law, LLC, as an attorney at law and was

believed to be its sole member and throughout this Lindell dispute had provided fraudulent legal

representation to benefit Mark and at all times acted within her duties as an attorney for

Defendant, Collins Family Law, LLC, and her fraudulent legal representations in the Lindell

dispute was always approved by Defendant, Collins Family Law, LLC, and Defendant, Collins

Family Law, LLC, always benefitted from her fraudulent legal representations and knowingly

accepted her fraudulent legal representation provided in the Lindell dispute by collected

substantial amount for billed legal fees.

       111.    At all relevant times during this complaint, Defendant, Marc R. Fisher, was

a partner of and employed by Defendant, Katz, Goldstein & Warren, P.C., as an attorney at law

and was appointed as the GAL throughout this Lindell dispute had provided fraudulent beneficial

services and legal representation to Mark and failed to provide proper and meaningful legal

representation for the benefit and well-being of the three minor children and at all times acted

within his duties as an attorney for Defendant, Katz, Goldstein & Warren, P.C., and his

fraudulent legal representations in the Lindell dispute was always knowingly accepted and

approved by Defendant, Katz, Goldstein & Warren, P.C., and Defendant, Katz, Goldstein &

Warren, P.C., always benefitted from his fraudulent legal representations and accepted his

fraudulent legal representation provided in the Lindell dispute and collected substantial amount
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for billed legal fees.

        112.    At all relevant times during this complaint, Defendant, Phyllis E. Amabile, M.D.,

was an agent and employed by Defendant, Phyllis E. Amabile, M.D., & Associates, P.C., as a

forensic psychiatrist who was appointed as the parental evaluator throughout this Lindell dispute

had provided fraudulent beneficial services and legal representation to Mark and failed to

provide proper and meaningful legal representation for the benefit and well-being of the three

minor children and at all times acted within her duties as a forensic psychiatrist for Defendant,

Phyllis E. Amabile, M.D., & Associates, P.C., and her fraudulent parental evaluation in the

Lindell dispute was always knowingly accepted and approved by Defendant, Phyllis E. Amabile,

M.D., & Associates, P.C., and Defendant, Phyllis E. Amabile, M.D., & Associates, P.C., always

benefitted from her fraudulent parental evaluation and accepted her fraudulent parental

evaluation provided in the Lindell dispute and collected substantial amount for billed evaluation

services.

        113.    At all relevant times during this complaint, Defendant, SJS Medical Labs, LLC,

was a member of and employed by Defendant, SJS Medical Labs, LLC, as a blood, hair, urine

substance abuse tester who conducted Plaintiff’s hair test on hair that was collected from

Plaintiff and the hair test results were knowingly fraudulent and fixed as positive for alcohol

abuse and these knowingly fraudulent and false hair test results were released on June 17, 2021,

in the Lindell dispute and at all times acted within his duties as a hair sample substance abuse

tester and his fraudulent hair test results of 42 EtG in the Lindell dispute was always knowingly

accepted and approved by Defendant, Phyllis E. Amabile, M.D., & Associates, P.C., and

Defendant, SJS Medical Labs, LLC, always benefitted from his fraudulent hair test and accepted
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his fraudulent hair test that was provided in the Lindell dispute and collected substantial amount

for billed fraudulent services.

       114.    Due to the existence of an employee / employer relationship between the

Defendants, each company Defendant is vicariously liable or outright liable to Plaintiffs, for their

injuries and losses mentioned above.

       WHEREFORE, Plaintiffs, JANE DOE individually and as natural mother and next

friend for ML, EL, and RL, all minors, respectfully requests that Honorable Court enter

judgment in Plaintiffs’ favor and against Defendants, GERAGE FAMILY LAW, P.C.,

COLLINS FAMILY LAW, LLC, KATZ, GOLDSTEIN & WARREN, P.C., PHYLLIS E.

AMABILE & ASSOCIATES, P.C. and SJS MEDICAL LABS, LLC d/b/a ARCPOINT LABS

OF LIBERTYVILLE, in any amount that is awarded against individual Defendants and award

substantial compensatory damages to Plaintiffs in an amount in excess of $1 Million each, and

award a reasonable amount of attorney’s fees and costs and award any other relief as the court

deems just and proper.

                                              Respectfully submitted,




                                              James J. Macchitelli

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